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Attorneys for Plaintiff The Satanic Temple


                       UNITED STATES DISTRICT COURT
                              DISTRICT OF IDAHO
__________________________________

THE SATANIC TEMPLE

                Plaintiff
                                                   Case No.:1:22-cv-411
       v.

BRAD LITTLE, in his capacity as
the Governor of Idaho; and
LAWRENCE WASDEN, in his
capacity as the Attorney General of
Idaho

                Defendants

__________________________________

                                        COMPLAINT

       Plaintiff The Satanic Temple (“TST”) alleges as follows:




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                                                 Parties

         1. TST is a religious association with its principal place of business in Salem,

Massachusetts.

         2. TST has over 1.5 million members worldwide, including over 3,500 members in

Idaho.

         3. TST venerates, but does not worship, the allegorical Satan described in the epic poem

Paradise Lost - the defender of personal sovereignty against the dictates of religious

authority.

         4. Members in TST adhere to seven tenets (the “TST Tenets”) commonly associated with

secular humanism:

           A. Tenet I -One should strive to act with compassion and empathy toward all

           creatures in accordance with reason.

           B. Tenet II - The struggle for justice is an ongoing and necessary pursuit that should

           prevail over laws and institutions.

           C. Tenet III - One’s body is inviolable, subject to one’s own will alone.

           D. Tenet IV - The freedoms of others should be respected, including the freedom to

           offend. To encroach upon the freedoms of another willfully and unjustly is to forgo

           one’s own.

           E.   Tenet V - Beliefs should conform to one’s best scientific understanding of the

           world. One should take care never to distort scientific facts to fit one’s beliefs.

           F.   Tenet VI - People are fallible. If one makes a mistake, one should do one’s best to

           rectify it and resolve any harm that might have been caused.

           G. Tenet VII - Every tenet is a guiding principle designed to inspire nobility in action




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           and thought. The spirit of compassion, wisdom, and justice should always prevail over

           the written or spoken word.

        5. TST brings this action as the representative of female TST members residing in Idaho

who are involuntarily pregnant (“Involuntarily Pregnant Women”).

        6. The TST members wish to remain anonymous due to the risk of violent retribution

from domestic terrorists motivated by animosity to proponents of abortion and non-Christian

religious beliefs.

        7. An Involuntarily Pregnant Woman is a woman who:

            A. Is “pregnant,” as that term is defined in Idaho Code § 18-604(11) with an “unborn

                child” as that term is used in Idaho Code § 18-604(5); and

            B. The “unborn child” is not “viable” as that term is used Idaho Code § 18-604(15);

                and

            C. Became pregnant without her consent due to:

                      i. The legal inability to consent to sex (other than rape or incest); and/or

                      ii. The failure of her Birth Control, as hereinafter defined.

        8. Consistent with TST Tenets III and V, all of the Involuntarily Pregnant Women who

are TST members believe the fetal tissue they carry in their uterus – from conception until

viability - is part of their body and not imbued with any humanity or existence separate and apart

from that of the Involuntarily Pregnant Woman herself.

        9. Consistent with the TST Tenets III and V, none of the Involuntarily Pregnant Women

who are TST members wants to carry an “unborn child” as that term is used in Idaho Code § 18-

604(5) in her uterus and believes she should abort that “unborn child” if given the opportunity to

do so safely and legally.




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       10. Pregnant TST members can and do get abortions, where they are legal, to terminate

an unwanted pregnancy as an exercise of their religious beliefs pursuant to the Satanic Abortion

Ritual, a copy of which is attached as Exhibit A.

       11. Pregnant TST members in Idaho could and did get abortions pursuant to the Satanic

Abortion Ritual prior to August 25, 2022.

       12. The Satanic Abortion Ritual includes meditation on and recitation of Tenet III and

Tenet V.

       13. Involuntarily Pregnant Women are unable to engage in the Satanic Abortion Ritual

due to the criminalization of abortions in Idaho pursuant to Idaho Code § 18-622(2) (the

“Criminal Abortion Statute”) and Idaho Code § 18-8801 et seq. (the “Fetal Heartbeat Statute”).

       14. Idaho Code § 18-604(5) defines an unborn child to be “an individual organism of the

species Homo sapiens from fertilization until live birth.”

       15. The Criminal Abortion Statute makes the act of aborting an unborn child a crime

except in cases to protect the life of the mother or reported rape or incest. Idaho Code §§ 18-

622(3)(a)(ii) and (b)(ii). An unborn child who cannot be lawfully aborted is referred to herein as

a Protected Unborn Child.

       16. The Fetal Heartbeat Statute makes the act of aborting a Protected Unborn Child a

crime when “a fetal heartbeat has been detected.” Idaho Code § 18-8804(1).

       17. Idaho Code § 18-8802(1) states the legislative finding that “[t]he life of each human

being begins at fertilization, and preborn children have interests in life, health, and well-being

that should be protected.”

       18. Idaho Code § 18-8802(8) states the legislative finding that “the state of Idaho has a

compelling interest in protecting the life of a preborn child at all stages of its development,




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including after the preborn child has a detectable heartbeat, which signals rhythmically and

without pause the presence of a precious and unique life, one that is independent and distinct

from the mother's and one that is also worthy of our utmost protection.”

       19. Defendant Brad Little is the Governor of Idaho with responsibility for enforcing the

Criminal Abortion Statute and the Fetal Heartbeat Statute (collectively the “Idaho Abortion

Bans”). Governor Little is sued in his official capacity as Governor.

       20. Defendant Lawrence Wasden is the Attorney General of Idaho with responsibility for

enforcing the Idaho Abortion Bans. Attorney General Wasden is sued in his official capacity as

Attorney General.

       21. Defendants act under color of state law in violation of 42 U.S.C. § 1983 when they

enforce the Idaho Abortion Bans against TST members who are Involuntarily Pregnant Women

in deprivation of their rights under the U.S. Constitution.

                                     Jurisdiction and Venue

       22. Count One seeks injunctive relief pursuant to 42 U.S.C. § 1983 for violations of the

takings clause of the Fifth Amendment as applied to Idaho pursuant to the Fourteenth

Amendment.

       23. Count Two seeks injunctive relief pursuant to the Thirteenth Amendment prohibition

of involuntary servitude, which is self-executing on the states.

       24. Count Three seeks injunctive relief pursuant to 42 U.S.C. § 1983 for violations of the

equal protection clause of the Fourteenth Amendment.

       25. The Court has jurisdiction to decide Counts One, Two and Three pursuant to 28 USC

§ 1331 because the resolution of Plaintiff’s claims presents questions of federal law.

       26. Count Four seeks injunctive relief pursuant to Free Exercise of Religion Protection




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Act (“FERPA”), Idaho Code § 73-401 et seq., for violation of the right of TST members in Idaho

to partake in the Satanic Abortion Ritual.

        27. The Court has jurisdiction to decide Count Four pursuant to 28 U.S.C. § 1367

because the claims made in Count Four are so related to claims made in Counts One, Two and

Three that they form part of the same case or controversy under Article III of the U.S.

Constitution.

                                      Zygotes and Blastocysts

        28. The most common method for creating a “human being,” as that term is used in the

Idaho Abortion Bans, starts with the deposit of a man’s sperm inside a woman’s vagina during

the course of sex.

        29. Once the man’s sperm is deposited in the woman’s vagina, it travels through her

uterus and into her fallopian tubes where it may encounter an egg produced by her ovaries.

        30. When a single sperm fuses with or fertilizes the woman’s egg, the resulting cell is

known as a zygote. The fertilization process takes about 24 hours and typically occurs about two

(2) weeks after the end of the woman’s last menstrual cycle. The end of the menstrual cycle

prior to fertilization is the starting point for measuring the course of a pregnancy commonly

known as the estimated gestational age (“EGA”).

        31. The zygote contains all of the genetic information (DNA) needed to become an adult

human being. Half of the genetic information comes from the woman’s egg and half from the

man’s sperm.

        32. The zygote is a “human being,” as that term is used in the Idaho Abortion Bans.

        33. None of the Involuntarily Pregnant Women were aware of or consented to the

creation of a zygote in her fallopian tubes at the time of fertilization.




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          34. The Idaho Abortion Bans do not apply to the destruction of a zygote because

“’[a]bortion’ does not mean the use of an intrauterine device or birth control pill to inhibit or

prevent . . . the implantation of a fertilized ovum within the uterus.” Idaho Code §§ 18-604(1)

and 18-8801(1).

          35. After its creation, a zygote travels down the fallopian tube and divides

to form a ball of cells known as a blastocyst.

          36. A blastocyst is a “human being,” as that term is used in the Idaho Abortion Bans.

          37. The blastocyst reaches the uterus around five days after fertilization or three (3)

weeks EGA. During this period, the blastocyst occupies empty space inside the fallopian tube or

uterus.

          38. The Idaho Abortion Bans do not apply to the destruction of a blastocyst while it

occupies empty space in the fallopian tube or uterus.

          39. Between six (6) and eleven (11) days after fertilization or three (3) to four (4) weeks

EGA, the blastocyst implants into and occupies a layer of tissue in the uterus commonly known

as the endometrium.

          40. Upon implantation of the blastocyst into the uterus, the removal of the implanted

blastocyst from the uterus is defined as an abortion in the Idaho Abortion Bans.

          41. None of the Involuntarily Pregnant Women were aware of or consented to the

implantation of a blastocyst into their uterus at the time it occurred.

          42. Prior to implantation in the endometrium, the zygote and blastocyst derive nutrients

from the woman’s egg.

          43. Once a blastocyst is implanted into and occupies the endometrium, it forms the cells

necessary for a placenta and the development of bodily organs, e.g., heart, lungs, brain, etc. This




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stage is known as the embryo. 1

        44. An embryo is a “human being,” as that term is used in the Idaho Abortion Bans.

        45. The removal of an embryo from the uterus is defined as an abortion in the Idaho

Abortion Bans.

        46. An embryo is entirely dependent on the woman whose uterus it occupies for all of its

oxygen and other nutrients, as well as physical protection until it becomes a viable fetus.

        47. A pregnant woman’s body produces the hormone progesterone, which is necessary

for the endometrium to retain and nurture an embryo. If there is insufficient progesterone, the

uterus will eject the embryo, i.e., miscarry, causing the death of the embryo.

        48. During the first ten (10) weeks EGA, progesterone is produced by the Corpus Lutem,

a cyst on the woman’s ovaries. The embryo’s placenta thereafter produces progesterone.

        49. Between five (5) to ten (10) weeks EGA, the embryo has developed to the point of

becoming a fetus and remains attached to the endometrium.

        50. A fetus is a “human being” as that term is used on the Idaho Abortion Bans.

        51. The removal of a fetus from the uterus is defined as an abortion in the Idaho Abortion

Bans.

        52. A fetus is entirely dependent on the woman whose uterus it occupies for all of its

oxygen and other nutrients, as well as physical protection until it becomes viable.

                                     Gestational Surrogacy

        53. Since the mid-1980’s, zygotes, blastocysts, and embryos have also been created

outside a woman’s body using in vitro fertilization (“IVF”). The father provides the sperm in a


1
 The word “embryo” is also commonly used to describe both the zygote and blastocyst. For
purposes of this action, Plaintiff refers to an “embryo” as the fetal development stage between
blastocyst and fetus.


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laboratory setting and the mother provides the egg in a laboratory setting. The sperm fertilizes

the egg in a laboratory setting creating a zygote. The zygote develops into a blastocyst or

embryo outside a woman’s body in a laboratory setting.

         54. The blastocyst or embryo created outside the woman’s body using IVF is then

surgically inserted into the empty space in a woman’s uterus with the expectation it will implant

in her endometrium. This process is commonly known as gestational surrogacy.

         55. Gestational surrogacy occurs when one woman provides the egg for fertilization, and

another woman provides the use of her uterus for the incubation of the blastocyst or embryo into

a viable child.

         56. Gestational surrogacy is legal in Idaho and routinely accomplished using a contract

binding on the participants. The woman who provides the use of her uterus for the incubation of

the blastocyst or embryo created in a laboratory into a viable fetus is commonly known as a

gestational carrier.

         57. Gestational carriers in Idaho are routinely paid significant sums of money for

providing the use of their uterus to incubate a blastocyst or embryo created by IVF into a viable

fetus.

         58. The only economic use for a uterus is being a gestational carrier.

         59. An Involuntarily Pregnant Woman cannot be a gestational carrier because her uterus

is already in use.

                                           Birth Control

         60. The Involuntarily Pregnant Women used a variety of methods of contraception to

avoid pregnancy (“Birth Control”).

         61. Each of the Involuntarily Pregnant Women reasonably believed the Birth Control she




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used would be effective.

       62. The Birth Control used by Involuntarily Pregnant Women failed and they became

pregnant without their consent.

                                      Count One:

               The Idaho Abortion Bans Unconstitutionally Take the Property
               of Involuntarily Pregnant Women Without Just Compensation.

       63. Plaintiff repeats and realleges ¶¶ 1 to 62.

       64. The United States Supreme Court has identified that the term “property,” as it applies

to the Fifth Amendment of the United States Constitution, to “denote(s) the group of rights

inhering in the citizen's relation to the physical thing, as the right to possess, use and dispose of

it.” U.S. v. General Motors Corporation, 65 S.Ct. 357, 359, 323 U.S. 373, 378 (U.S. 1945); See

also Newman v. Sathyavaglswaran, 287 F.3d 786, 798 (C.A.9 (Cal.),2002).

       65. The uterus of an Involuntarily Pregnant Woman is a physical thing in which she has

property rights, including without limitation, the property right to:

           A. Have her uterus removed for any purpose, including without limitation, changing

               her sex; or

           B. Rent it out to a third party as a gestational carrier; or

           C. Retain any blastocyst, embryo, or nonviable fetus in her uterus; or

           D. Exclude any blastocyst, embryo, or nonviable fetus from her uterus;

           E. Remove any blastocyst, embryo, or nonviable fetus from her uterus.

       66. The property right of an Involuntarily Pregnant Woman to exclude or remove a

Protected Unborn Child from her uterus cannot be taken by the State of Idaho without just

compensation pursuant to the Takings Clause of the Fifth Amendment to the U.S. Constitution.

       67. The property right to exclude or remove a Protected Unborn Child from a woman’s



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uterus has substantial commercial value as established by over twenty-five years of experience

with gestational surrogacy in Idaho.

         68. The Idaho Abortion Bans make the exclusion or removal of a Protected Child from

the uterus of an Involuntarily Pregnant Woman a crime.

         69. The Idaho Abortion Bans cause a taking of the property rights of an Involuntarily

Pregnant Woman by preventing her from exercising her property rights to exclude or remove a

Protected Unborn Child from her uterus.

         70. The Idaho Abortion Bans fail to provide just compensation to an Involuntarily

Pregnant Woman for the taking of her property rights in her uterus.

         71. There is no procedure available under Idaho law for an Involuntarily Pregnant

Woman to obtain just compensation for the taking of her property rights in her uterus by the

Idaho Abortion Bans.

         72. The Idaho Abortion Bans are unconstitutional as applied to Involuntarily Pregnant

Women under the takings clause of the Fifth Amendment and the Fourteenth Amendment.

                                       Count Two:

               The Idaho Abortion Bans Subject Involuntarily Pregnant Women
              to Involuntary Servitude in Violation of the Thirteenth Amendment.

         73. Plaintiff repeats and realleges ¶¶ 1 to 72.

         74. The term “involuntary servitude” means “the control of the labor and services of one

[person] for the benefit of another, and the absence of a legal right to the disposal of his [or

her] own person, property, and services.” Clyatt v. U.S., 25 S.Ct. 429, 431, 197 U.S. 207, 218 (U.S.

1905).

         75. Under the Idaho Abortion Bans, the State of Idaho requires each Involuntarily

Pregnant Woman to use her own person to provide the Protected Unborn Child with the



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following services, among others:

             A. Hormones, including but not limited to progesterone.

             B. Oxygen.

             C. Nutrients.

             D. Antibodies.

             E. Body heat.

             F. Protection from external shocks and intrusions.

          76. The Idaho Abortion Bans cause each Involuntarily Pregnant Woman to provide the

services necessary to sustain the life of a Protected Unborn Child that occupies and uses her

uterus.

          77. The Idaho Abortion Bans provide no compensation or consideration to an

Involuntarily Pregnant Woman for providing the services necessary to sustain the life of a

Protected Unborn Child that occupies and uses her uterus.

          78. The penalties set forth in the Idaho Abortion Bans constitute legal coercion.

Those services have a substantial commercial value in Idaho as established by over twenty-five

years of experience with gestational surrogacy.

          79. The Idaho Abortion Bans are unconstitutional as applied to the Involuntarily Pregnant

Women because they are put into a condition of involuntary servitude in violation of the

Thirteenth Amendment.


                                       Count Three:

               The Idaho Abortion Bans Unconstitutionally Discriminate Between
                       Women Who Become Pregnant by Accident and
                    Those Who Claim They Are Pregnant by Rape or Incest

          80. Plaintiff repeats and realleges ¶¶ 1 to 79.



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       81. All women have the fundamental right to use contraception and engage in sex just for

the pleasure and intimacy it brings and without any purpose or intent to become pregnant

(“Protected Sex”).

       82. Involuntarily Pregnant Women engaged in Protected Sex but became pregnant

without their consent due to the failure of their Birth Control.

       83. The Idaho Abortion Bans impose criminal penalties on Involuntarily Pregnant

Women who get an abortion, notwithstanding their lack of consent to becoming pregnant. Idaho

Code § 18-606(2).

       84. Idaho Code § 18-8802(1) states the legislative finding that “[t]he life of each human

being begins at fertilization, and preborn children have interests in life, health, and well-being

that should be protected.”

       85. Idaho Code § 18-8802(8) states the legislative finding that “the state of Idaho has a

compelling interest in protecting the life of a preborn child at all stages of its development,

including after the preborn child has a detectable heartbeat, which signals rhythmically and

without pause the presence of a precious and unique life, one that is independent and distinct

from the mother's and one that is also worthy of our utmost protection.”


       86. The legislative findings in Idaho Code § 18-8802(1) and Idaho Code § 18-8802(8)

are pretext designed to effect discrimination against women who engage in sex just for the

pleasure and intimacy it brings and without any purpose or intent to become pregnant.

       87. The Idaho Abortion Bans do not apply to a pregnant woman who reports an act of

rape or incest to a law enforcement agency. Idaho Code §§ 18-622(3)(b)(ii) and 18-8804(1)(a).

The Idaho Abortion Bans intentionally discriminate between two different classes of women who

are pregnant without their consent – women who are pregnant by accident, women who are



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pregnant by rape.

       88. This discrimination infringes upon the fundamental right of Involuntarily Pregnant

Women to engage in Protected Sex because they are forced to pay the physical and financial

costs of being pregnant without their consent while women who are impregnated by rape are not.

       89. There is no compelling state interest served by this discrimination.

       90. Whatever state interest this discrimination purports to serve can be accomplished by

means less intrusive on the fundamental right of Involuntarily Pregnant Women to engage in

Protected Sex.

       91. The Idaho Abortion Bans violate the equal protection clause of the Fourteenth

Amendment.

                                     Count Four:

      The Idaho Abortion Bans Violate the Idaho Exercise of Religious Freedom Act
        Because They Make the Exercise of the Satanic Abortion Ritual a Crime.

       92. Plaintiff repeats and realleges ¶¶ 1 to 91.

       93. Members of TST hold the religious belief that a zygote, blastocyst, embryo, and

nonviable fetus are a part of a woman’s body and not imbued with an existence, humanity, or

spiritual life separate and apart from the mother. This belief is grounded in TST Tenet V that

beliefs should conform to one’s best understanding of scientific facts.

       94. Members of TST hold the religious belief that an unwanted zygote, blastocyst,

embryo, or nonviable fetus should be removed from the body of a pregnant woman. This belief

is grounded in TST Tenet III that a woman’s body is inviolable, subject to her own will alone.

       95. When a member of TST has an unwanted pregnancy, she exercises her religious

beliefs as expressions of Tenets III and V by engaging in the Satanic Abortion Ritual.

       96. The Idaho Abortion Bans make the exercise of the Satanic Abortion Ritual a crime



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and effectively prohibits it.

        97. There is no compelling state interest served by banning the Satanic Abortion Ritual.

        98. There are less restrictive means of furthering the state’s asserted interests served by

the Idaho Abortion Bans than banning the Satanic Abortion Ritual.

        99. The Idaho Abortion Bans violates the Idaho Exercise of Religious Freedom Act,

Idaho Code § 73-401 et seq.

                                COSTS AND ATTORNEY FEES

        Plaintiffs’ claims arise from violations of 42 U.S.C. § 1983. As an action to enforce this

provision and vindicate a violation of civil rights, Plaintiff is entitled to an award of reasonable

costs of suit and attorney fees in an amount deemed reasonable by this Court pursuant to 42

U.S.C. § 1988 in the event it is the prevailing party.

                                     PRAYER FOR RELIEF


WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

        a. Entry of an order permanently enjoining Defendants from enforcing the Idaho

Abortion Bans against the Involuntarily Pregnant Women who are members of TST or anyone

who provides such an Involuntarily Pregnant Woman with an abortion.

        b. For costs of suit, including reasonable attorneys’ fees.

        c. For such other and further relief as this Court deems just and equitable.

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DATED: September 29, 2022

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      SATANIC ABORTION RITUAL




The Satanic Abortion Ritual is a         Misinformation about abortion
destruction ritual that serves as        and guilt for pursuing that
a protective rite. Its purpose is        option can be a lot to handle. It
to cast off notions of guilt,            can be exhausting and
shame, and mental discomfort             frustrating to try to shrug off
that a patient may be                    and dismiss internal and
experiencing due to choosing             external pressures, especially
to have a medically safe and             those driven by religious
legal abortion.                          convictions that disregard the
                                         beliefs and freedoms of others.
Even the most confident and              Even when one recognizes that
unapologetic individual can              these criticisms are invalid,
experience uncomfortable                 they can make an already
feelings and anxiety for                 troubling time even harder.
choosing to terminate their
pregnancy. Laws in many                  This ritual is intended to
states that impose waiting               alleviate some of these
periods and state-mandated               stressors and empower the
counseling can exacerbate                patient to be guided by the
these feelings, as can social            Third and Fifth Tenets when
condemnation and outright                pursuing their decision.
harassment by those who
oppose abortion.                         The purpose of the ritual is not
                                         to persuade someone to have
                                         an abortion if they are
                                         undecided. Instead, the ritual
                                         serves to assist in confirming
                                         their decision and to ward off
                                         the effects of unjust
                                         persecution, which can cause
                                         one to stray from the paths of
                                         scientific reasoning and free
                                         will that TST members strive to
                                         embody.
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    ABOUT THE RITUAL                               PREPARATIONS




TST's abortion ritual can be               Before performing the ritual,
performed to address definable             you may choose to review the
concerns or to overcome                    science about the safety and
unproductive feelings.                     reality of abortion and the
                                           debunked claims from those
The ritual, which includes the             who oppose abortion. You may
abortion itself, spans the entirety        also choose to read stories or
of the pregnancy termination               listen to podcasts about people
procedure. There are steps to be           who made great sacrifices in
performed before, during, and              the struggle to establish the
after the medical or surgical              reproductive rights we have
abortion.                                  today. These stories can be
                                           inspirational and may subdue
Because rituals are deeply                 stigmas you might feel from
personal to those enacting them,           those who oppose abortion.
there are variations in how it may
be performed. The ritual can be
                                           Your ability to choose to
personalized based on personal
                                           terminate a pregnancy is
preferences and availability of
                                           consistent with the ideals of
materials. There is no need to
                                           liberty and freedom. Be proud
purchase anything special or to
                                           of pursuing what you want for
adhere to every word. What is
                                           your life despite opposition.
essential is the spirit and general
intent.

One can also perform their                          IMPLEMENTS

favorite destruction ritual to                A quiet space where you
target any of the unwanted                    feel comfortable
feelings incited by adversity faced
                                              Something that allows you
as a consequence of choosing to
                                              to see your reflection
have an abortion. Feel free to
                                              A copy of The Satanic
take or leave whatever you wish
                                              Temple’s third and fifth
from this one to build your own.
                                              tenets and personal
                                              affirmation
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          TENETS AND AFFIRMATIONS




                       Tenet III
    One’s body is inviolable, subject
       to one’s own will alone.


                       Tenet V
 Beliefs should conform to one's best
scientific understanding of the world.
One should take care never to distort
  scientific facts to fit one's beliefs.


        Personal Affirmation
            By my body, my blood
            By my will, it is done.
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                             PROCEDURES




For medical abortions:                     For surgical abortions:
Immediately before taking                  Immediately before
the medication(s) to                       receiving any anesthetic or
terminate your pregnancy,                  sedation, look at your
look at your reflection to be              reflection to be reminded of
reminded of your personhood                your personhood and
and responsibility to yourself.            responsibility to yourself.
Focus on your intent, take                 Focus on your intent, take
deep breaths, and make                     deep breaths, and make
yourself comfortable. When                 yourself comfortable. When
ready, read the Third Tenet                you are ready, say the Third
aloud to begin the ritual.                 Tenet aloud. The surgery can
After swallowing the                       now begin. During the
medication(s), take another                operation, take another deep
deep breath and recite the                 breath and recite the Fifth
Fifth Tenet. After you have                Tenet. Immediately after the
passed the embryo, return to               surgery, return to your
your reflection, and recite the            reflection and recite the
personal affirmation. Feel the             personal affirmation. Feel the
doubts dissipating and your                doubts dissipating and your
confidence growing as you                  confidence growing as you
have just undertaken a                     have just undertaken a
decision that affirms your                 decision that affirms your
autonomy and free will. The                autonomy and free will. The
religious abortion ritual is               religious abortion ritual is
now complete.                              now complete.
